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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                    8:23CR165

        vs.
                                                                       ORDER
SETH FONTAINE,

                       Defendant.


       In accordance with the status conference held on July 10, 2025, as to Defendant, Seth
Fontaine, (Filing No. 58), the defendant’s oral motion is granted.

       IT IS ORDERED:

       1)     The defendant’s Oral Motion to Continue Status Conference, (Filing No. 58), is
              granted.

       2)     In accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of
              justice will be served by granting this motion and outweigh the interests of the
              public and the defendant in a speedy trial. Any additional time arising as a result
              of the granting of this motion, that is, the time between today's date, and August
              22, 2025, shall be deemed excludable time in any computation of time under the
              requirement of the Speedy Trial Act. Failure to grant this motion would deny
              counsel the reasonable time necessary for effective preparation, taking into account
              the exercise of due diligence, and the novelty and complexity of the case. The
              failure to grant this motion might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(7)(A) & (B). Failing to timely object to this order as provided under this
              court’s local rules will be deemed a waiver of any right to later claim the time
              should not have been excluded under the Speedy Trial Act.

       3)     A status conference with counsel will be held in person before the undersigned
              magistrate judge at 11:00 a.m. on August 22, 2025. Counsel for the parties shall
              appear, and the defendant must be present.


       Dated this 10th day of July, 2025.

                                                    BY THE COURT:

                                                    s/ Michael D. Nelson
                                                    United States Magistrate Judge
